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                      IN THE   DISTRICT     COuRT          OF    THE    NINETEEIflH


                    JUDICIAL     DISTRICT       OF    THE       STATE    OF MONTANA


                         IN AND    FOR    THE    COUNTY          OF    LINCOLN



           ROBERT        WILKES    and          JEAN
           WILKES      husband    and wife                        Caue     No     DV-9-60

                         Plaintiffs

                 vs

           W.R  GRACE       CO -Conn
           Connecticut     corporation           and
           DOESI-IV

     10                  Defendants


     11


     12


     13                             VIDEO       DEPOSITION


     14                                          OF


     15                             ROBERT       iL    WILKES


     16                    On     Behalf    of       the    Plaintiffs


     17


     18


     19               Taken    at the home of Robert                       Wilkes
                               316 Dome Mountain Avenue
     20                              Libby Montana
                           Wednesday        December-            15     1999
     21                                     230 p.m

     22


     23


    24
              Reported by Debra                 Hedman RPR RMR    and Notary
     25       Public for the State              of Montana Flathead  County
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                                                                                                      14




           significant          jobs before          you    --    between         the time         that


           you    worked    at    the mine          and before you               went     to work


           at Zoxio1ile

                           No          was    just cutting             wood.            few   fence


           posts in jhat           too

                           Okay         Do    you    remember how              long     you   worked


           at    Zonolite


                           Probably          two    and         half       years        Thats

           down    on the       bottom       and up on top both


     10                    Do    you    remember          when    you       left Zonolite

           the year approximately

     12-                   about       1946        47
     13                    Can you       sort of          summarize the work                  that


     14    you    did after you          left       Zonolite          in    1946

     15                         started       driving       dump       truck          When


     16    worked    for    zonolite          thats        what            did      And    then


     17    kind    of liked       the    dump       truck       so-I       stayed     on them        as


     18    much    as      could

     19                    And    what       kinds    of    outfits did             you    drive


     20    dump truck       for

     21                    Well.Russell              Deist        he had         just one dump

     22    truck    and         hauled       rip-rap up          on    the river up at


           Iexford         That was                       short       job           just      --
     23                                      just

     24                    Did you       ever       drive logging              trucks

     25                    Oh yeah                  lot    of    it
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                                                                                                   16




                          Yeah        on Payne Machinery


                          What       happened          there

                          Lost            finger

                          Do    you       remember         when    that   was     roughly

                          bout            76
                          All right                 How    about    any   other    injuries

          Did you       ever    suffer any             other      injuries

                          When            worked       for     Bushman      ruiiied my


          neck

    10                    When       was    that

                          In     88
    12                    Did    you       go back         to work    after that neck


    13    injury

    14                    No

    15                    So    is    the neck            injury what      caused       you   to


    16    retire

    17                    Thats           right

    18                    Do    you       recall how old            you   were    when    that


    19    happened

    20                    No          really dont                    didnt       keep    track


    21    of    my age

    22                    Okay            Id like         to    address    now    the jobs


    23    that you       worked       when       you      were up    at Zonolite


    24    specifically               Do    you      remember what         your    first job


    25    was    when   you    worked          at    Zonolite
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                                                                                                  1.7




                          For W.R          Grace    or for Bill Blue

                          When     you worked           at Zonclite              the first

          work    that you        did    that took        you       up there

                            went        right     out    on         dump truck

                          Now     you mentioned           Billy Blue

                          That     was     down    below at          the    transfer       bin

          That    was before             went     up there

                          Now      was     Billy Blue               part    of    Zonolite       or


          what    was    that     relationship

    10                    As far as              know     he was            He    had

    11    contract       with     them to haul           the ore from the transfer

    12    bins    to    the siding here            in    Libby

    13                    When     you worked           for Billy Blue             did    you

    14    ever    make    any     other trips           except       for    Zonolite

    15                    No

    16                    What     was    the           You    know        you    mentioned

    17    that you       hauled     ore     to    town         What       did    -- Did    you

    18    start in town           with    an empty truck              and .then go         --



    19                    Yeah          Right

    20                    Okay.         Where     on the hill did                you    go to

    21    pick    up your load

    22                   Oh       when we        started       up    1%ainey      Creek

    23    would    say close        to    two     and         half    miles up there              or

    24    three

    25                   But      it was    at     or near          the    mine    and    mill
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                                                                                                   18




           tip   in that       area

                           It    was    down    below the          mill

                           How    far    down       from    the    mill would you            say

                           Straight          across         Not    too far            Fifteen

          hundred       feet     probably

                           Im going           to show       you    this    photo           Its

          Exhibit       1-31       Would       you    take         look at          that   and see

          if     that describes

                           ThatS        --



    10                     Lets        hold    itup          little            Is    that where

    11    you    went    to     pick    up    the    ore

    12                     Yeah              came    in    this    way    and in there           and


    13    down    another        road    and down          off    the    mountain


    14     indicating

    15                     How    about       this         Does    this    accurately

    16    depict     it too             Thats        Exhibit       2-83

    17                     Yeah

    18                     Okay         Lets        hold it up and make                  sure we

    19    get       shot         Using       those   photos        can you          describe

    20    what    the    process        was-when          you were       driving         for Billy

    21    1ue     to pick        up your       load

    22                     Well        you    pulled       in under       there          and you

    23    cant     see     them in the picture                    but    there      is      chute

    24    for each       bin     that    the ore is dumped                in   from the        skip


    25    up above
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                                                                                                          20




                                       whichever                                       --    if you
                           Yeah                           spot that you

          had     the    order    to get          out    of    the first one or second


           one or third one                 and depended             on what          grade    of       ore


           they    wanted       down    there             downtown


                           How long did             it    usually          take       for    the    truck


          to    fill

                           Probably          twenty       minutes               Fifteen       to


          twenty        minutes

                           Now        did    you    just open             the    chute

     10                    Opened       it        let    the ore                in    there and          --
                                                                          go


    11    it    built     up to the          chute       and    then       you       would shut          it


    12    off     and    kick    it    around and open                it up          again     and       --


    13                     Was    that            dusty       job

    14                     Quite dusty              yeah            You    couldnt           see


    15    sometimes

    16                     Now        were    you             How    did       you    shut    the ore


    17    off

                           Tust                    the    --    Pushed          the chute          --    the
                                      pulled

    19    hopper         on the bottom             of    that chute             there        that just

    20    pulls     it    off

    21                     And    where       was       the dust          coming       from at          that


    22    point

    23                     From out          of    there

    24                     Yeah

    25                     It    was    when       it    hit    the bed          of    the    truck       or
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                                                                                                                   22




           the   dump     box      It      would       just        billow          up       around       you

                           And    where         were    you        standing             at that point


                           Sometimes              would stay on the                          outside


          until     it    got    full to where                     had to          get       in there          and


          kick    it     around       and then          .1    got       in there             and         kicked


           the   ore     around    to      get    it    away           from the chute                   to    fill


          the box        full    up
                           And    did      you    just        do       the    chute          one time          and


          fill    it     or did    it      take       you          couple          times

    10                     Well       it    took       two        or    three          times to do


    11    that

    12                     Why    was      that

    13                     Because         you    had to           get       it    in there             and


    14    push    it     back    away      or    it    just        wouldnt              Lii up

    15                     How    would         you    describe              the dust


    16                     Very    bad           It    --     Its kind                 of   hard        to    tell


    17    how    thick     it    was        It    was        so    thick          it    would       knock


    18    the lights        out         You      couldnt               even       see..he          light

    19    burning

    20                     This    photo         here         Exhibit             1-31        that       seems


    21    to show        that    the entire            area        was       covered               Do    you

    22    remember        any    ventilaton

    23                     In here         indicating

    24                     Yes

    25                     None         The      only        ventilation                was    with          the
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                                                                                                            22




           air    through       where       you       drove    the truck          in        Thats

           the    only    thing there             was

                           Do       you    rememberwhether                 the    dust ever

           varied      depending           upon       certain       conditions


                           There was             dust all       the    time           If    you       was


           hauling       the    coarse ore              the heavy          stuff1       there


          wasnt        so much        dust       there         Butthen           if   you       got    in


           there    and was          taking       the      finer stuff down                or    loading

           dat there           it    was    terrific            It    was    dust               you    was

     10    just loading                           Thats        all there          was

     11                   .nd        how    could       you    tell what          grade         of ore


     12    it    was

     13                   Well            each    chute       was    marked           one       two

     14    three       four         five     and six


     15                   Jnd        were you          always       able    to    drive right up


     16   and    fill    your load

     17                   Sometimes                   would have       to    wait       for      another


     18   truck     to get out of                my   way

     19                   And       where        would you          wait

     20                   Back       beyond           it   on the back            side      --    Lets

     21   see          would wait           out here           out    in the road                 And


     22   the    truck    that        was    loading           he would          go on      through

    23    and-
    24                    Was        it    only dusty when             you       were      loading

    25                    Not       necessarily                If    they were          dumping         ore
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                                                                                                       23




           in   the top    up there           why        dust    was     coming       out them

           windows    up on the            top

                          Im sorry            can you          show     that       again

                          Coming       out    them top windows                 there       and    it


           would just      come       out    there       nd fall         down       over    you

                          The    dust       was    coming       out     of    the    windows

                          Yeah        there       was    no windows           in there            Just


           vent   holes is what             they were

                          How    many       loads did you             usually haul              each


     10    day

     11                   If      recall           it    was    eight        or nine       loads


     12    that you   were       --    that       you    had to       haul     in         That    was


     13    ten yards or so            on      load

     14                   You    mentioned          that       sometimes you              had    to


     15    wait   behind         truck       that       was    filling its           load         How


     16    many   times per day             do you       think       that     happened

     17                   Probably          once         Probably        once         week

     18                   Did    you       ever    do anything           to    .protect


     19   yourself    from being             around       so    much     dust       when    you

    20    were    filling the          ore

    21                         just tried to             put them              little paper


    22    mask    on my face          and    it    didnt        do       bit of       good

    23                    What    happened          when       you    went     to    town       with


    24    your load

    25                    Well        it    depended          on what        ore    you    was
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                                                                                                           24




           hauling      you       had to       cover       it         If    it   was    the     coarse


           stuff you        didnt        have       to cover          it    with        tarp          If


           it   was   the    fine       stuff       you had       to tie         it down        pretty


           tight

      .5                    nd why           was    that

                            ecause           the    wind    would just             blow    it   off

           It   was   just dust

                            What    happened             when    you       qot into       town

                            You    would back             into             You   drove on the


     10    scales     and    then       you backed          of        of    the scales          up onto

           the ramp

     12                     Where       were       you    delivering             to

     13                     Into Libby               There by the                     Where     the


     14    overpass     is    now       in    Libby

     15                     Was    it         Grace       facility

     16                     Oh yeah

     17                     Or excuse          me          Zonolite          facility

     18                     Deponent           shakes       head.

     19                     Was    this       also         Zonolite          facility

     20                     Yep

     21                     Did    you       ever    have       any    interaction            with


     22    employees        from Zonolite

     23                     With    any what

     24                 With        any       employees or supervisors                        from


     25    Zonolite           Were       there people             at the         place
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                                                                                                            25




                               At    this       indicating

                                     where       you    loaded

                               No

                               Were    there       people       in town          that worked             for


           .Zonolite

                               Yes         TJh-huh        There       was          The       guy    on the


            skip          Yeah        up on the          skip     house       there           but    the


           one     guy    on the       scales          weighing       it     and             because       you

           weighed        in    and then          when    you     unloaded          you       weighed


      10   out      on account             of    gasoline       that       you     burned

      11                       Were    you       in your truck             when     you       unloaded

      12                       Part    of       the time


      13                       When    would       you    be    out     of    the truck


      14                       When         would walk          back       there        to    see


      15   whether        all the ore has                fell     out      or went           out or      shut


     16    the tailgate              before            pulled     down       off    of       there and


     17    stuff     like       that            Just    something          that     you       had to do


     18    when     you   were        hauling            truck     for       them

     19                        Was    that         dusty       job         Unloading

     20                        Yeah         Just       as much     dust       up there             as there


     21    was     up on top

     22                     Were       you       in an enclosed              area       when       you   were


     23    unloading

     24                     NO         Just            roof over        it

     25                     Any       of    them         How    long       did     it    usually         take
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                                                                                                   26




           for you      to dump       the    load

                               dont know             Three to five             minutes


                          When     you      worked    for       BiU      Blue and were


           driving      that     route      between       town       and the    lower ore


           bins    do you        remernbe whether               you    kept    your windows


           upordown

                          Well        in    the summertime you                drove    with

           them   downT    in the wintertime                you       had them up          with


           the heater      oh

     10                   Do    you   remember        whether          dust    got in your

     11    truck

     12                   Oh     lots of       it

     13                   How    do you       remember          that

     14                        lot of       times         would       have    to wipe       the


     15    windshield      on the inside to                see       before      could       leave


     16    up there        It    would       just    --    Sometimes          when         would


     17    go in there            would forget             to    roll the       window       up    or

     18    maybe I.left           door open           and       it    would    just fill.               ...

     19    that   cab    full of      dust

     20                   Did    it   ever     cause       any       maintenance       problems

     21    for your truck

     22                   Some

     23                   What    kinds       of things          do you       remember

     24                   Ignition          switcheÆ and             light    switches       and


     25    starter      buttons          nything electrical                   that    it    could
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                                                                                                          27




            get   in     that    dust    would get            in    there       and insulate              it


            and it wouldnt             work

                           You mentioned            that       when       you    had         paper

           mask         When     you    wire    loading            the    ore

                           Yeah

                           Where       did   you    get       that

                           Hargraves         Drug       Store

                           How    is    it   that       you    started          to    wear       that

           mask

      10                        was    trying      to    keep       from breathing                 in so


      11   much   dust          You    would breathe               that    dust in and

      12   before   you     got       loaded why              you    were       spitting mud

      13   balls

      14                   Did you       know      what       was    in the dust


      15                   No

      16                   Did you       know      what       you    were       loading

      17                        knew    what        was       loading           yes        but


      18   didnt    know        what    it   was         But you          know        at    that


      19   time     no          didnYt know         nothing

     20                    What       did you      refer to          your       loads       as        You

     21    hauled   --     Fill in the blank


     22                    Do    what    now

     23                    If         were   to ask you             what    you      used        to   haul


     24    when   you    drove        for Billy Blue                what    would you              tell


     25    people   that you           hauled            What       did    you       refer to
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                                                                                                         29




           unloading       the    ore

                           No

                           Did    you    ever    use     them at          another        time when


           you    were    driving

                 .A        No
                                                                               --
                           How    long would you              say that              when       you

           were    wearing       the mask        that        you    wore    it      did       you

           wear    it from the time you                 got       out of    your      truck         or


           just opened         the chute        or how would you                describe            it

     10                    Put    it    on just as           we    got ready        to    load

     13    Then    it would       get    --    You    couldnt            breathe         so


     12    would take       the    stupid       thing off           to   get    more air             and


     13    finally         just quit          wearing        them

     14                    Did           ever    have        any    protective           equipment
                                  you

     1.5   while    you    were    doing       that     job

     16                   No

     17                   Did     anyone       ever     tell       you    that you        should


     18    wear    the    mask

     19                   No

     20                   Do     you    remember        how       long you      did      that       job

     21    where    you   hauled        from Zonolite              for Billy Blue

     22                    Probably       two    years

     23                   Then     what       happened

    24                    Well1        they were        in    the process           of    moving


    25     their transfer          bins up the river running                          across         the
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                                                                                                        30




           river on            belt         lnd       the only reason               hauled       any

           ore at all          into town          was       to    keep    the    popping     plant


           going         The    expanding             --    They had to expand              the ore


           and    put    it    in baggage              you       know    and put it         in


           railroad cars             and send          it    all over       the    United


           States

                              nd sowhat               effect       did    that    have           your


           job    with    Billy Blue

                              Well        it put       me out of            job    and they        more


     10    or less just transferred me                            up on the       hill up there


     11                       Did you       Oontinue             to work    for    Billy     Blue

     12                    No         W.R        Grace

     13                       Did you       work       for       Zonolite

     14                       Yeah        Zonolite          then         Vermiculite


     15                       So you       were       hired by Zonolite


     16                       Yeah         Right

     17                       How    big    was       the gap in between              the    time


     18    that    you    work       for    Billy Blue             and   W.R      Jlrace


     19                       One day probably                     Or maybe                drove


     20    days up       there       at    the    mine and               drove    nights

     21    straight       nights          down    here       for Blue

     22                    What       did       you    do when       you    started working


     23    for Zonolite             directly

     24                    Drove          dump    truck

     25                    Where          was    that
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                                                                                                      31




                           Up      in the pit

                           .7rid    what    did    that     job      entail

                           It      was    what

     .4                    What      did    you     do when you            drove      dump     truck


           and worked        in     the    pit

                           You      backed       into the        shovel        and     they loaded


           you    and you       hauled      it    down         If    It    was    ore you       took

           it    downto     the mill and dumped                     it    into    the hopper


           there     and that            would    take     quite same            time    sometimes


     10    because       you would have            to     take           sledge       hammer and


           break up them            big    chunks       that     wouldnt          go through

     12    the    grading

     13                    Do      you    remember        whether         it   was       dusty job


     14    when    you    were      driving

     15                    Up      in the       pit it was          terrible            It    was


     16    terrific       up there

     17                    Can      you    describe        the      dust       that    you

     18    remember

     19                    Well          when    you    stick       your head          in the

     20    flour    sack    and bang            both    sides1       lets you           know    how


     21    dusty it       is

     22                    Was      it    when    you were          being      loaded        or when

     23    you    were    dumping         or driving

     24                    Backing         in and driving                out   both          They had

     25    the    exhausts         on them       trucks     that         was   underneath           and
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                                                                                                               32




           it    was    hitting the                ground          and    that stuff         was


           flying out from                   under       the trucks             all   the    time         Pnd


           youd        even       have       to    stop       --    After       you   got    loaded       and


           you     got started out                  of       the pit        you would have               to


           stop     sometimes because                        it    was    too dusty              The    wind


           would       blow       it    ahead of             you    and you       just      couldnt

           see

                                 When    you       drove          in the    pit       did    you       have


      .9   windows          in your truck


     10                          Yeah        but they             didnt     do you       any      ood
     11    They    wouldnt              let       you    stay       in    the    truck

     12                          What    do       you    mean

     13                          You    had to          stand       out    in    front      of    the truck


     14    because          if    soniething            would       break       on the      shovel       or


     15    they    would          lose       one    of       them big       boulders         and it


     16    landed       in that          box       on that          truck        it would         fly up in

     17    the air and come                   dowit      and would probably                  snap       your

     18    neck

     19                          So    did    you       stand       in the       front      of the

     20    truck       --


     21                          Yeah        when       --



     22                          --    when       the    shovel          loaded       you
     23                          Yeah

     24                          Do    you    remember             whether       dust    got      in    your

     25    truck
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                                                                                                        33




                              Oh     lots       of    it

                              How    do you          remember that


                              Just       dust    all over the                dash    and    the    seats

           nd no matter              where       you       looked       you    seen    dust

      .5                      Did    that cause             any maintenance                problems

           for the       truck           that you          remember


                              Ignition          problems              because       daytime

           didnt        use    lights or nothing                      like    that up there


           Just    ignition          switch          and it would get                in the


     10    distributor             and    foul       up the          points    and    stuff like


     11    that

     12                       Do    you    remember             speaking       to any       of the

     13    Zonolite         maintenance              people          about your       truck

     14                       Oh yeah

     15                       What       kinds       of    discussions             would you       have

     16                       Well        John       Bagge up there                   talked       to him


     17    one day when             we    was    in       the    --    in    the    lunch    shack


     18    there..       If    you       could       talk       to    them down there.and             ..get




     19    them    to    put       horizontal             pipes on them             trucks    so    they

     20    wouldnt          be blowing           up the          dust        and    that was       about


     21    all    we    ever       talked       about            Nothing       was ever done

     22    about       it

     23                       Do    you    remember             ever    having       any

     24    conversation             with    the maintenanceS                  people       about


     25    maintenance             problems          with       your truck
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                                                                                                             34




                                  Yeah        down       at    the    shop

                                  What       kinds       of    things        do you      remember


                                  One thing he                said          He   was    blaming       it    on


              to    me     and    it    wasnt        my fault at all

                                  What       did    he blame on             you

                                  The    points          in    the    distributor            were    burning


              up and that              was    their fault             it was       doing      that

                                  You    mentioned                  lunch    shack           Where    did


              you    eat lunch           when       you       were    in the       pit

      10                          In    the    pit

      11                          Was    that       --    How       close    was      that    to    therest

      12      of the area                To where             the shovel         and the       trucks


      13      were       running

      14                          Half         block

      15                          Do    you    remember             whether      it    was    dusty in


      16      the    lunch        shack

      17                          Ohyeah
      18...          ..Q          How    long did             you    drive         truck      in    the    p.t

      19                         All the           time         was    up there              And    that    was

     20       probably           eight        nine months              something         like       that

     21                           What       caused       you       to leave       Zonolite

     22                          Got     mad

     23                          What        happened

     24                           They       took    me       off    the truck         and gave       me


     25       wheelbarrow              and told me             to shovel         out    under
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                                                                                                       35




           conveyor          belt    out there           and          where       the overspil


           was    and there was              nothing       but    dust       up under       there

           nd          said       No         says              hired out as                truck


           driver           not      wheelbarrow           pusher           and      few    other


           things            nd he said             Youre        not    going      to do it

           huh         Pnd        said       No     Im not
                              Whowasthat

                              Kujawa

                              Soyou       quit

     10                           quit    right then                   told him        Thats          it

     11                       Because        you    didnt        want       to push


     12    wheelbarrow

     13                       No         wasnt        going      to    do their dusty            job


     14    for    them

     15                       Okay        When      you    were       hired at       Zonolite


     16    did    the       company      warn      you    that exposure            to the        dut

     17    could       be    harmful      to    you

     18            A.. No

     19                       When     you     were      hired        did    the company         warn


     20    you    that       exposure        to asbestos          could       be harmful         to


     21    you

     22                      Nope

     23                      When      you     were      hired at       Zonolite           did   any

     24    of    the    other       workers        ever    warn       you    about    the dust or


     25    asbestos
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                                                                                                      36




                                  cant     remember          anybody          saying anything

           about   it    at       all

                             Did    you    ever       see    any       signs    about the


           hazards      of    asbestos          or dust

                         ust some               of    that       gray-looking          jimk that

           would come         out between             the    rocks       and    stuff

                             How    about        like        signs       saying        Beware

                             No

                             No    signs    like        that

     10                      No

     11                      Did    your    supervisors                ever    warn    you    that


     12    the   dust could          harm       you

     13                      No

     14                      Do    you    remember          other       workers       talking

     15    about   the       dust    or asbestos             when       you    worked    there

     16                      No      bout        the dust               Nobody    ever       said


     17   anything       about       asbestos          up there

     18                      Do    you    remember          whether       you    or any             the


     19    other   workers           to    your knowledge                 ever    complained          to


     20    the supervisors               a1out       tile   dust

     22                           did     but    then       it    didnt        do any    good

     22                      What    did    you       say

     23                           wanted    them to          water       the road


     24                      And    what    was       their response

     25                      Well        they    told us          --    And      could       see
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                                                                                                        37




     .1    their point           too     because      when    it would            rain up


           there    you    couldnt        get    in the pit or out                 of    it            It


           was    so slippery          it was    like    stepping            on        bar    of


           soap      So    it was       just impossible            to    --    and they


     .5    couldnt        build         road in there         out       of    gravel         or


           something        because       they    cant       use    that       road      that


           long

                           Do    you    remember      any    of    your supervisors

          telling     you       anything      about     the dust

     10                No
     11                    Do    you    remember      any    of    your supervisors

     12   ever     telling       you    that the dust was               not harmful               to

     13   you

    .14                    Yeah

     15                    What    do you       remember

    16                     Kujawa       said it wasnt             any          the dust


    17    wasnt      any    worse in that          mine up there               or that            mill

    18    than     the dust       coming      out of         wheat       field

    19                     Did    you    ever    work    in the         mill

    20                     No

    21                     Were    you    aware    when      you    worked         at    Zonolite

    22    that other        workers       were    becoming         sick       from the            dust

    23                          knew    people    were      getting          sick but

    24    didntt    know        what    was   causing       it

    25                     Do    you    remember      hearing       about         --    after you
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                                                                                                               49




                            Not       from Carl or             anybody               Nobody

                            Aside       from the          contact             that you          had with


           people you know                   in making             your fuel             deliveries


           after you         left      Zonolite          working             there       in the       40s

           did   you    ever      have       any          did you             ever       receive       any

           contact      from      them         Did they ever                      c9ntact       you    again

           after you        left

                            No              wa called              on    the       phone     two       three


           times by Johnny              Baggs       to    get       me to          come     back      to


     10    work      but         wouldnt           do    it

     11                     Why       didnt        you    want          to    go    back     to    work

     12                     Because          when         quit               job          quit

     13                     Can       you    describe          some          of    the    breathing


     14   problems         youve        had    in       the    last          few    years

     15                     Terrible               Just       --    Sometimes                just      donT


     16   think      Im going           to make          it until             the    next       day

     17                    What        kinds       of activities                   make     you    short of


     18   breath       now

     19                     Pretty near             anything                  do

     20                    Do     you       remember          when       you       first started              to


    21    notice       that      you    were       having          some       breathing           problems

    22                     Started           about       eight           nine       years ago

    23    guess        when      we    were    otit      hiking          or       stuff like          that

    24    wed     been      --    It    didnt           dawn       on me what             was     going       on

    25      didnt        know         what    was     wrong
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                                                                                                    51




           angioplasty

                           Do    you    continue         to    get    checkups          from your


           doctor        about your heart

                           Yeah

                           Whats        your mderstanding                   of    how your

           heart    is    doing

                           Good

                           Did you       eventually            go    see         lung


           specialist

     10                         did     yeah

     11                    Who    did    you    go       see

     12                    Whitehouse          in    Spokane

     13                    Do    you    remember         when       you    went   to go see


     14    him

     15                         dont     know       --   remember          the date        no

     16    couple       years    ago

     17                    Whats        your    understanding               about


     18    Dr     Whitehouses           specialty

     19                    First thing          he asked            me     he said       Did


     20    you    work    for Zonolite               Jnd        said        Yeah        Paid   he


     21    said    --


     22                    Did you       tell him you were                  from Libby

     23                    Yeah         But he       said      --    To    start with

     24    think    he asked      me     if         worked      around brakes              and


     25    said     No
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            your understanding               that       some    of    your breathing

            problems      are related         to your heart


                          He    said       that    the    breathing          problems       was


            causing     part    of    it    in my heart              yeah         But whether


            the heart     was    causing          the breathing                   dont     think


            so.


                          Have       you    ever    been       exposed       to    asbestos       in


            any   other   job        besides       --



                          Not    that         know       of o
      10                  Did you          ever    tell    any of       your doctors             that


      11    you   had been      exposed       to asbestos

      12                  gust       Dr Rice

      13                  When       was    the    last    time that          you    went    to


      14    doctor     because       of your breathing                problems

      15                  Aweekago

      16                  When       was          or     who    was    that

      17                  Dr     Rice

                          Here       in Libby


      19                  Yeah

      20                  1nd what         was     happening          that    led    you    to    go

      21    see   him

                          Couldnt breathe                        was                  --         just
      22                                                                getting

      23    was   so   short of       air all the          time          would       try to

      24    breathe     and    Id start coughing                     coughing       and


      25    coughing      and         went    down       there
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                               Did you       have       some       more    tests          done with


               Dr Rice

                               At that       time            did     yeah

                               What    kind of          tests       were    performed

                               .1   took    that       air test again                 you    know        how


               much    you    could    take       in and how          much          you    can   let     out

                               And    whats        --    Do    you    recall          the    results of


               those    tests

                               Bad

     10                        Do    you    have       any    understanding                about


     11                        He    just    said       it    went    from 75             down   to     50

     12        Seventy-five          percent       down       to    fifty percent                  Thats

     13        what    Ive     got    today       is    50    percent          of    air capacity


     14                        Did    he give          you    any    additional             medication


     15        or prescription             for your          breathing          problem

     16                        rust    have       to be on that                nebulizer         for


     17        twice         day    probably       for the rest of                   my life            And


     18   ..   on that       Serevent       and    Floverit          and Im..Qn             both.of.


               them

     20                        And    you    liave      been       on those          since


     21        Dr     Whitehouse       gave       them       to    you

    22                         The    F.ovent                just went          on that          here

    23         Dr     Rice    told me       to take          the    Sevevent          morning         and


     24        night          two    puffs     in the morning                   two puffs          at


    25         night         Then    Flovent           two    puff        in    the morning two
